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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA

National Union Fire Insurance Company of            )
Pittsburgh, PA, as assignee and subrogee;           )
                                                    )
                           Plaintiff,               )
                                                    )
      vs.                                           ) CASE NO.
                                                    )
Pegatron Corporation                                )
                                                    )
                           Defendant.               )
                                                    )
                                                    )


                                    COMPLAINT
      National Union Fire Insurance Company of Pittsburgh, Pa., as assignee and

subrogee (“National Union”) complains of Pegatron Corporation (“Pegatron”) as

follows:

                 THE PARTIES, JURISDICTION, AND VENUE
      1.       National Union is incorporated under Pennsylvania law and maintains

its principal place of business in New York.

      2.       Pegatron is a corporation organized and existing under the laws of

Taiwan and maintains its principal place of business in Taiwan.

      3.       This Court has diversity jurisdiction pursuant 28 U.S.C. § 1332

because the amount in controversy exceeds $75,000 (exclusive of interest and

costs) and the matter involves a dispute between citizens of different states, as



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National Union is a citizen of Pennsylvania and New York, and Pegatron is a

subject of a foreign state.

       4.       Venue is proper in this district under 28 U.S.C. §§ 1391(a) because a

substantial part of the events or omissions giving rise to the claim occurred in this

district.

       5.       This Court has personal jurisdiction over Pegatron because upon

information and belief, Pegatron shipped products at issue in this case to this

district, and Pegatron conducted business relating to the disputed products in the

State of Georgia and within the Northern District of Georgia.

                   PEGATRON’S CONTRACT WITH INSURED
       6.       In April of 2004, Scientific-Atlanta, Inc. (“Scientific-Atlanta”) entered

into a Blanket Purchase Agreement (“BPA”) with ASUSTek Computer, Inc.

(“ASUSTek”).         Pursuant to the BPA, ASUSTek agreed to sell, among other

things, branded internet and cable equipment to Scientific-Atlanta, for resale and

distribution to its customers.

       7.       In 2005, Cisco Systems, Inc. [hereinafter “Insured”] acquired

Scientific-Atlanta and succeeded to any rights under the BPA.

       8.       In September 2008, ASUSTek assigned all rights and interests under

the BPA to Unihan Corporation. Thereafter, on November 13, 2013, Unihan

assigned all rights and interests under the BPA to Pegatron. Pursuant to that



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assignment, Pegatron assumed the obligations under the BPA and is liable for any

breach of the BPA.

      9.       Pursuant to the BPA, Pegatron sold branded internet and cable

equipment, and wireless residential voice and networking gateways (hereinafter

collectively referred to as “Equipment”) to Insured.

      10.      Pursuant to the BPA and subsequent assignments, Pegatron’s sale of

Equipment to Insured is subject to the following warranties:

      7.1      Warranties. [Pegatron] hereby represents and warrants that:
               7.1.1 All Equipment shall conform in all material respects to
               the Specifications and be free from defects in materials and
               workmanship;
               7.1.2 All Equipment shall function under ordinary use in
               conformance with the Specifications;….

      11.      Pursuant to Paragraph 7.2 of the BPA, Pegatron warranted the

Equipment for a period of sixty-six (66) months as follows:

      7.2 Warranty Period. The warranties set forth above shall apply
      for the period beginning on the date of [Pegatron’s] invoice under
      which Equipment was shipped to [Insured], or to the location(s)
      designated by [Insured], and ending sixty-six (66) months thereafter
      (such period, as extended, if applicable, being referred to herein as the
      “Warranty Period”). The Warranties set forth above shall be passed
      through to [Insured’s] Customers, however, [Insured], and not its
      customers, will interface with [Pegatron] on all warranty claims.

      12.      Pursuant to Paragraph 7.3 of the BPA, Pegatron agreed to replace or

repair nonconforming Equipment, as follows:

      7.3 Warranty Replacement or Repair. Within the Warranty
      Period, [Insured] and/or such other party or parties as [Insured] may,



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      from time to time designate (hereinafter referred to as “[Insured]
      designees”) shall have the right to return to [Pegatron], after receiving
      a return material authorization (RMA) number from [Pegatron] within
      the Warranty Period of an intention to return, Equipment not
      conforming to the above warranties and to require that [Pegatron], at
      [Pegatron]’s expense and option, repair such Equipment or replace
      such Equipment with new, conforming Equipment.
      13.   Pursuant to Paragraph 18 of the BPA, Pegatron agreed to certify that

all Equipment complied with Federal Communications Commission regulations:

      18. Warranty Replacement or Repair. Equipment delivered
      hereunder will be manufactured, labeled, certified and will perform in
      compliance with all applicable laws, regulations, standards and/or
      codes in effect for the Equipment intended use at the time of delivery.
      It shall be [Pegatron]’s responsibility to secure and maintain any and
      all certifications and/or approvals (including, but not limited to those
      of the Federal Communications Commission, Underwriter’s
      Laboratories, and the European Union – DE Conformity, Wi-Fi,
      Wireless Protected Access (“WPA”), ITU, and CCC) (“Covered
      Regulatory Compliance”) required for the Equipment purchased
      hereunder including Equipment privately labeled for [Insured]. In
      order to ensure the relevant laws and regulations are satisfactorily
      met, [Pegatron] agrees to:
      (a) Certify to [Insured] that the Equipment delivered hereunder is
             in compliance with regulations, laws, standards and/or codes….
      14.   The Equipment includes wireless residential voice and networking

gateways, combining a cable modem, voice adapter, router, and wireless access

points (the “Wireless Devices”).

      15.   The Wireless Devices were designed to operate on a dual band,

involving both 2.4 GHz and 5 GHz frequencies (“Specifications”).




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                 INSURED’S CONTRACT WITH CUSTOMER

      16.    On December 16, 2010, Insured agreed to sell the Equipment to its

customer (hereinafter “Customer”).

      17.    In or about January of 2016, Customer contacted Insured to report an

alleged defect in the Equipment.

      18.    Customer alleged that the Equipment oscillated into the 2.5 GHz

spectrum, and thus, violated Federal Communications Commission regulations.

      19.    Pursuant to the MSA, Customer demanded that Insured repair or

replace the Equipment.

      20.    Upon receipt of Customer’s demand, Insured sought to enforce the

BPA and demanded that Pegatron repair or replace the nonconforming Equipment.

Pegatron denied Insured’s demand and refused to repair or replace the

nonconforming Equipment.

      21.    Given Pegatron’s breach of the BPA, Insured has incurred in excess of

$75,000 to repair and replace the nonconforming Equipment and to partially

resolve Customer’s claim.

                PLAINTIFF REIMBURSED INSURED’S LOSS

      22.    Plaintiff issued insurance to Insured. In accordance with the terms of

its insurance policy, Plaintiff reimbursed Insured for its loss.

      23.    In exchange for its payment, Insured assigned to Plaintiff the claims



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against Pegatron. As a result of its payment and the assignment, Plaintiff is

subrogated to Insured’s claims against Pegatron and has a legal and equitable

subrogation interest in any recovery obtained from Pegatron.

                                    COUNT I

   (BREACH OF CONTRACT: BLANKET PURCHASE AGREEMENT)
      24.    Plaintiff incorporates by reference each of its allegations in

paragraphs 1 through 23 of its Complaint.

      25.    Pegatron expressly agreed to provide Equipment, including Wireless

Devices, in accordance with the BPA.

      26.    Pegatron expressly agreed to sell Equipment, including Wireless

Devices, warranting that it “shall conform in all material respects to the

Specifications and be free from defects in materials and workmanship.”

      27.    Pegatron expressly agreed to sell Equipment, including Wireless

Devices, warranting that it “shall function under ordinary use in conformance with

the Specifications.”

      28.    Accepting Customer’s allegations as true, Pegatron breached the BPA

by providing Equipment (including the Wireless Devices) that (1) did not conform

to the Specifications; (2) contained defects in materials and workmanship; (3)

failed to perform in compliance with all applicable laws, regulations, standards

and/or codes in effect for the Equipment at the time of delivery; and (4) failed to




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function under ordinary use in conformance with the Specifications.

      29.    Insured performed all of its duties under the BPA.

      30.    As a direct result of Pegatron’s breach of its contractual obligations,

Insured incurred damages and loss in an amount to be determined at trial, but

which currently exceeds $75,000.

      WHEREFORE, Plaintiff requests that a judgment be entered against

Pegatron in an amount to be determined at trial and to declare it liable for all loss

sustained by National Union and Insured, plus an award of interest, attorney’s fees,

costs and other damages incurred by Insured, and for such other or further relief as

the Court deems equitable and just.

                                      COUNT II

                 (BREACH OF CONTRACT - WARRANTY)
      31.    Plaintiff incorporates by reference each of its allegations in

paragraphs 1 through 23 of its Complaint.

      32.    Pegatron expressly agreed to provide Equipment, including Wireless

Devices, in accordance with the BPA and Specifications.

      33.    Pegatron expressly warranted that “[a]ll Equipment shall conform in

all material respects to the Specifications and be free from defects in materials and

workmanship.”

      34.    Pegatron also expressly warranted that “[a]ll Equipment shall function




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under ordinary use in conformance with the Specifications.”

      35.    Pursuant to the BPA, Pegatron agreed to extend the warranties for a

period of sixty-six months as follows:

      7.2 Warranty Period. The warranties set forth above shall apply
      for the period beginning on the date of [Pegatron’s] invoice under
      which Equipment was shipped to [Insured], or to the location(s)
      designated by [Insured], and ending sixty-six (66) months thereafter
      (such period, as extended, if applicable, being referred to herein as the
      “Warranty Period”). The Warranties set forth above shall be passed
      through to [Insured’s] Customers, however, [Insured], and not its
      customers, will interface with [Pegatron] on all warranty claims.
      36.    Pegatron agreed that it would repair or replace any Equipment,

including Wireless Devices, which failed to conform with its warranties:

      7.2 Warranty Replacement or Repair. Within the Warranty
      Period, [Insured] and/or such other party or parties as [Insured] may,
      from time to time designate (hereinafter referred to as “[Insured]
      designees”) shall have the right to return to [Pegatron], after receiving
      a return material authorization (RMA) number from [Pegatron] within
      the Warranty Period of an intention to return, Equipment not
      conforming to the above warranties and to require that [Pegatron], at
      [Pegatron]’s expense and option, repair such Equipment or replace
      such Equipment with new, conforming Equipment.

      37.    Customer alleged that Pegatron provided Equipment (including the

Wireless Devices) that, among other things (1) did not conform to the

Specifications; (2) contained defects in materials and workmanship; (3) failed to

perform in compliance with all applicable laws, regulations, standards and/or codes

in effect for the Equipment at the time of delivery; and (4) failed to function under

ordinary use in conformance with the Specifications.


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      38.    Accepting Customer’s allegations as true, Pegatron breached the BPA

and wrongly failed to repair or replace the non-conforming Equipment.

      39.    Insured performed all of its duties.

      40.    As a direct result of Pegatron’s breach of its contractual obligations,

Insured incurred damages and loss in an amount to be determined at trial, but

which currently exceeds $75,000.

      WHEREFORE, Plaintiff requests that a judgment be entered against

Pegatron in an amount to be determined at trial and to declare it liable for all loss

sustained by National Union and Insured, plus an award of interest, attorney’s fees,

costs and other damages incurred by Insured, and for such other or further relief as

the Court deems equitable and just.

                                      COUNT III

             (BREACH OF CONTRACT - REPRESENTATION)
      41.    Plaintiff incorporates by reference each of its allegations in

paragraphs 1 through 23 of its Complaint.

      42.    Pegatron expressly agreed to certify that Equipment, including

Wireless Devices, provided under the BPA will perform in compliance with all

applicable laws, regulations, standards and/or codes in effect for the Equipment at

the time of delivery:

      18. Warranty Replacement or Repair. Equipment delivered
      hereunder will be manufactured, labeled, certified and will perform in



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      compliance with all applicable laws, regulations, standards and/or
      codes in effect for the Equipment intended use at the time of delivery.
      It shall be [Pegatron]’s responsibility to secure and maintain any and
      all certifications and/or approvals (including, but not limited to those
      of the Federal Communications Commission, Underwriter’s
      Laboratories, and the European Union – DE Conformity, Wi-Fi,
      Wireless Protected Access (“WPA”), ITU, and CCC) (“Covered
      Regulatory Compliance”) required for the Equipment purchased
      hereunder including Equipment privately labeled for [Insured]. In
      order to ensure the relevant laws and regulations are satisfactorily
      met, [Pegatron] agrees to:
      (a) Certify to [Insured] that the Equipment delivered hereunder is
             in compliance with regulations, laws, standards and/or codes….

      43.    Customer alleged that Equipment supplied by Pegatron (including the

Wireless Devices) violated the Federal Communications Commission’s regulations

by oscillating into the 2.5 GHz spectrum.

      44.    Accepting Customer’s allegations as true (without admitting the truth

of those allegations), Pegatron breached the BPA by failing to supply Equipment

(including Wireless Devices) that performed in compliance with the Federal

Communications Commission’s regulations.

      45.    Insured performed all of its duties.

      46.    As a direct result of Pegatron’s breach of its contractual obligations,

Insured incurred damages and loss in an amount to be determined at trial, but

which currently exceeds $75,000.

      WHEREFORE, Plaintiff requests that a judgment be entered against

Pegatron in an amount to be determined at trial and to declare it liable for all loss



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sustained by National Union and Insured, plus an award of interest, attorney’s fees,

costs and other damages incurred by Insured, and for such other or further relief as

the Court deems equitable and just.

                                      COUNT VI

                   (NEGLIGENT MISREPRESENTATION)
      47.   Plaintiff incorporates by reference each of its allegations in

paragraphs 1 through 23 of its Complaint.

      48.   Absent the BPA, Pegatron bears a common law duty to exercise

reasonable care in certifying that the Equipment, including Wireless Devices,

conforms to the Specifications and will perform in compliance with all applicable

laws, regulations, standards and/or codes in effect for the Equipment at the time of

delivery.

      49.   Accepting Customer’s allegations as true, Pegatron breached its

common law duty to exercise reasonable care and thus is liable for Insured’s loss.

      50.   When supplying the Wireless Devices, Pegatron represented that the

devices (1) conformed to Specifications, including the requirement that they

operate on a dual-band of 2.4 GHz and 5 GHz; and (2) would perform in

compliance with all applicable laws, regulations, standards and/or codes in effect

for the Equipment at the time of delivery, including (but not limited to) Federal

Communications Commission’s regulations prohibiting interference with others’




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use of frequencies.

        51.   Upon information and belief, Pegatron represented that the Equipment

conformed to Specifications and would perform in compliance with all applicable

laws, regulations, standards and/or codes in effect for the Equipment at the time of

delivery when it knew or should have known such representations were false at the

time they were made to Insured.

        52.   Upon information and belief, Pegatron represented that the Equipment

conformed to Specifications and would perform in compliance with all applicable

laws, regulations, standards and/or codes in effect for the Equipment at the time of

delivery when it had no reasonable basis for believing such representations were

true.

        53.   Upon information and belief, Pegatron intended for Insured to rely on

its representations that the Equipment conformed to Specifications and applicable

law when it supplied the Equipment.

        54.   Insured reasonably relied on Pegatron’s representations.

        55.   In reasonable reliance on Pegatron’s representations, Insured accepted

delivery of the Equipment, including Wireless Devices.

        56.   As a direct and proximate result of Pegatron’s representations and

Insured’s reasonable reliance thereon, Insured incurred damages and loss in an

amount to be determined at trial but which currently exceeds $75,000.



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      WHEREFORE, Plaintiff requests that a judgment be entered against

Pegatron in an amount to be determined at trial and to declare it liable for all loss

sustained by National Union and Insured, plus an award of interest, attorney’s fees,

costs and other damages incurred by Insured, and for such other or further relief as

the Court deems equitable and just.

                                      COUNT VI

         (BREACH OF CONTRACT – TERMS AND CONDITIONS)
      57.    Plaintiff incorporates by reference each of its allegations in

paragraphs 1 through 23 of its Complaint.

      58.    Upon information and belief, Insured issued Purchase Orders to

Pegatron, memorializing Pegatron’s sale of Equipment (including the Wireless

Devices) to Insured.

      59.    Upon information and belief, the purchase orders provided that in the

absence of a master agreement, the sales from Pegatron to Insured were subject to

the Insured’s standard terms and conditions.

      60.    Upon information and belief, the insured’s standard terms and

conditions contained (among other material terms) representations and warranties

that the Equipment (including Wireless Devices) were suitable for their intended

use, and required Pegatron to indemnify Insured for liability or loss incurred as a

result of or arising from their products.




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      61.    To the extent that the BPA does not apply, Pegatron is bound by

Insured’s standard terms and conditions and breached those terms and conditions

by providing Equipment (including the Wireless Devices) that, among other things

(1) did not conform to the Specifications; (2) failed to perform in compliance with

all applicable laws, regulations, standards and/or codes in effect for the Equipment

at the time of delivery; (3) contained defects in materials and workmanship; and

(4) failed to function under ordinary use in conformance with the Specifications.

      62.    Insured performed all of its duties.

      63.    As a direct result of Pegatron’s breach of its contractual obligations,

Insured incurred damages and loss in an amount to be determined at trial, but

which currently exceeds $75,000.

      WHEREFORE, Plaintiff requests that a judgment be entered against

Pegatron in an amount to be determined at trial and to declare it liable for all loss

sustained by National Union and Insured, plus an award of interest, attorney’s fees,

costs and other damages incurred by Insured, and for such other or further relief as

the Court deems equitable and just.

Dated: August 1, 2018

                                       Respectfully submitted,

                                       GORDON & REES LLP

                                       /s/ Leslie K. Eason
                                       Leslie K. Eason


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